Case 2:06-cv-00105-WFD Document 27-2 Filed 08/24/06 Page 1 of 1

UNITED STATES DISTRICT COURT

 

DISTRICT OF WYOMING

)

FEDERAL TRADE COMMISSION, )
)

Plaintiff, )

)

Vv. ) No. 06CV0105D

)

ACCUSEARCH, INC. d/b/a Abika.com, and )
JAY PATEL, )
)

Defendants. )

 

ORDER STRIKING AFFIRMATIVE DEFENSES REGARDING FAILURE TO STATE
A CLAIM, JURISDICTION, EQUITABLE ESTOPPEL AND UNCLEAN HANDS
(DEFENSES 1, 2, 3, 4, AND 7)

THIS MATTER having come before the Court, on Plaintiff's motion to strike certain
affirmative defenses in defendant’s Answer, and the Court being advised in the premises,

IT IS HEREBY ORDERED that Affirmative Defenses regarding failure to state a claim,
jurisdiction, equitable estoppel and unclean hands (defenses 1, 2, 3, 4, and 7) be and they hereby are

stricken from Defendants’ Answer.

DATED this day of , 2006.

 

UNITED STATES DISTRICT JUDGE
